              Case 2:04-cr-00524-RSL         Document 63      Filed 08/11/10      Page 1 of 2



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06                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
07                                       AT SEATTLE

08
     UNITED STATES OF AMERICA,            )
09                                        )
                 Plaintiff,               )              Case No. CR04-524-RSL
10                                        )
           v.                             )
11                                        )
     MATTHEW DAVID JAMES,                 )              DETENTION ORDER
12                                        )
                 Defendant.               )
13   ____________________________________ )

14
     Offenses charged:
15

16             COUNT 1:      Conspiracy to Distribute Marijuana, in violation of 21 U.S.C. §§
                             841(a)(1), 841(b)(1)(B), and 846
17
               COUNT 2-3: Possession With Intent to Distribute Marijuana, in violation of 21
18                        U.S.C. §§ 841(a)(1), 841(b)(1)(B) and 18 U.S.C. § 2

19
     Date of Detention Hearing:      August 11, 2010
20
               The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
21
     based upon the factual findings and statement of reasons for detention hereafter set forth,
22
     finds:
23
              FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
24
               (1)    Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
25
                      defendant is a flight risk and a danger to the community based on the nature of
26
                      the pending charges.

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
     PAGE 1
           Case 2:04-cr-00524-RSL          Document 63       Filed 08/11/10      Page 2 of 2



01          (2)     Defendant has stipulated to his continued detention, but reserves the right to

02                  contest his continued detention if there is a change in circumstances.

03          (3)     There are no conditions or combination of conditions other than detention that

04                  will reasonably assure the appearance of defendant as required or ensure the

05                  safety of the community.

06          IT IS THEREFORE ORDERED:

07          (1)     Defendant shall be detained pending trial and committed to the custody of the

08 Attorney General for confinement in a correctional facility separate, to the extent practicable,

09 from persons awaiting or serving sentences or being held in custody pending appeal;

10          (2)     Defendant shall be afforded reasonable opportunity for private consultation

11 with counsel;

12          (3)     On order of a court of the United States or on request of an attorney for the

13 government, the person in charge of the corrections facility in which defendant is confined

14 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

15 connection with a court proceeding; and

16          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

17 counsel for the defendant, to the United States Marshal, and to the United States Pretrial

18 Services Officer.

19          DATED this 11th day of August, 2010.

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21
                                                          A
                                                          JAMES P. DONOHUE
                                                          United States Magistrate Judge
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     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
     PAGE 2
